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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

      - - - - - - - - - - - - - - - x
      IN RE:                        :
                                    :
        AVANTAIR, INC.              : Case No. 8:13-bk-09719-CPM
                                    : Chapter 7
                       Debtor       :
      - - - - - - - - - - - - - - - x
                                    U.S. Courthouse
                                    801 N. Florida Avenue
                                    Tampa, Florida 33602
                                    January 24, 2014
                                    3:36 P.M.

                               TRANSCRIPT OF HEARING

      (1) Ruling on Motion to Approve Compromise of Controversy with
      Fractional Owners of N109SL Filed by Lynn Welter Sherman,
      Attorney for Trustee on behalf of Trustee Beth Ann Scharrer
      (Doc. #412);

      (2) Motion to Approve Compromise of Controversy with Fractional
      Owners of N104SL Filed by Lynn Welter Sherman, Attorney for
      Trustee on behalf of Trustee Beth Ann Scharrer (Doc. #482);

      (3) Limited Objection to Motion to Approve Settlement and to
      Approve Sale of N138SL Filed by Donald R. Andersen on behalf of
      Interested Party CCA of Tennessee, Inc. (related document(s)
      #455) (Doc. #540);

      (4) Further hearing on Emergency Application/Motion for
      Authority of Trustee to Deliver Maintenance Records to TPE
      Flight Log Services, LLC Filed by Lynn Welter Sherman, Attorney
      for Trustee, on behalf of Trustee Beth Ann Scharrer (Doc. #499);

      (5) Further Hearing on the Claw-Out Notices (related document(s)
      479, 506, 607, 508, 509, 514, 515, 518, 519, 521, 523 and 524).

                   BEFORE THE HONORABLE CATHERINE PEEK McEWEN
                         UNITED STATES BANKRUPTCY JUDGE


             Proceedings Digitally Recorded by Court Personnel;
        Transcript Produced by Court-Approved Transcription Service.


           _______________________________________________________
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                                                                              2

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      Also Present via Court Call:

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   1                            P R O C E E D I N G S

   2               COURTROOM CLERK:      All rise.    Court is now in

   3   session.

   4               THE COURT:    Please have a seat.

   5               COURTROOM CLERK:      Avantair, Incorporated, Case

   6   No. 13-9719.

   7               THE COURT:    All right.     I’m going take appearances.

   8   I'll call the role for the phone appearances first.           Donald

   9   Andersen for Corrections Corporation of America.

  10               MR. ANDERSEN:     I'm present, Judge.

  11               THE COURT:    Amanda Applegate for Fractional Owners?

  12               MR. VERONA:    I don't think she's going to be on the

  13   phone, Your Honor.

  14               THE COURT:    Okay.    Not here.

  15               John Bingham of PIGL?

  16               (No response.)

  17               THE COURT:    Not here.

  18               Roger Clark with Global Aerospace?

  19               MR. CLARK:    I'm here, Your Honor.

  20               THE COURT:    All right.     Isabel Callona for Turbo

  21   Prop?

  22               MS. CALLONA:     Present, Your Honor.

  23               THE COURT:    All right.     Gregory Mascitti for

  24   Signature Flight Support Corporation?

  25               MR. MASCITTI:     Present, Your Honor.



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   1                THE COURT:    All right.     Marvin Mohney for Dallas

   2   Airmotive?

   3                (No response.)

   4                THE COURT:    Not here.

   5                Gregory Plotko for LW?

   6                (No response.)

   7                THE COURT:    Not here.     And --

   8                MS. CALLONA:     Your Honor, I anticipate --

   9                THE COURT:    Pardon me.

  10                MS. CALLONA:     Your Honor, Isabel Callona here.

  11   I've been speaking with Greg and I would expect him to join

  12   us today.

  13                THE COURT:    Okay.    Well, he's not --

  14                COURTCALL OPERATOR.      Pardon my interruption, Your

  15   Honor.    This is the Courtcall Operator and Mr. Plotko is

  16   connected and his line is open.

  17                THE COURT:    His what?     I couldn't hear you.

  18                COURTCALL OPERATOR:      His line is open.    He is

  19   not --

  20                THE COURT:    Okay.    Mr. Plotko, are you there?

  21                (No response)

  22                THE COURT:    Well, his line may be open but he's not

  23   responding, or we're not picking up the audio from his line.

  24                COURTCALL OPERATOR:      I am not showing that he is

  25   speaking on our end as well, Your Honor.



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   1               THE COURT:    Okay.    I'll mark him not here until he

   2   can figure out a way to make the appearance.

   3               And last, but not least, Amy Smith for Turbo Prop

   4   East as well.

   5               MS. SMITH:    Present, Your Honor.

   6               THE COURT:    All right.     In the courtroom, who do we

   7   have?

   8               MR. VERONA:    Jay Verona and Quincy Bird for a

   9   number of fractional owners.

  10               THE COURT:    All right.     Thank you.

  11               MR. KIRK:    Your Honor, Donald Kirk, LW Air.

  12               THE COURT:    All right.

  13               MR. APPLEBY:     Good afternoon, Your Honor.      Keith

  14   Appleby on behalf of Global Aerospace.

  15               THE COURT:    All right.

  16               MR. LAMOUREUX:     Good afternoon, Your Honor.       John

  17   Lamoureux on behalf of Iberia Bank --

  18               THE COURT:    Well, well.

  19               MR. LAMOUREUX:     -- a new client of the firm's.

  20               THE COURT:    I'm sure you filed your 2019 statement

  21   already, didn't you?

  22               MR. LAMOUREUX:     I was called this morning, but I

  23   will make sure one gets filed, Your Honor.

  24               THE COURT:    Okay.    Thank you.     And?

  25               MS. DiIORIO:     Good afternoon, Your Honor.      Tiffany



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   1   Diiorio on behalf of the Chapter 7 Trustee.

   2                THE COURT:     All right.     Just for you, I'm going to

   3   give you a Ricola.

   4                MS. DiIORIO:      Thank you.

   5                THE COURT:     Ms. Garcia, would you please give that

   6   to her.

   7                All right.     Thank you all for making your

   8   appearances both by phone and in person.

   9                MR. PLOTKO:     Your Honor, this Greg Plotko.        My

  10   phone malfunctioned and I'm actually on.

  11                THE COURT:     Your phone what?

  12                MR. PLOTKO:     Sorry about that.       It had

  13   malfunctioned.       I dialed back in.

  14                THE COURT:     Okay.    You're here, then.       I'll note --

  15                MR. PLOTKO:     I'm here then.      Thank you.

  16                THE COURT:     I'll note the record accordingly.

  17                We'll go forward with the matters that are on the

  18   calendar today.       And we will have a housekeeping discussion

  19   that relates to the fact that our recordings -- we had a

  20   lapse in our recording procedure that caused us not to have

  21   available a recording for the January 15th hearing, at which

  22   time I made some additional remarks concerning what is a

  23   plane issue in connection with prior approvals of compromises

  24   that dealt with sales of airplanes.

  25                I said a few things and we also took limited



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   1   objections orally from Mr. Andersen on the two motions to

   2   approve the compromise that we had pending that day.            We also

   3   heard from Mr. Clark about clarifying whether my ruling meant

   4   that I was dealing -- or that I denied that there was any

   5   tort of conversion.

   6                There may be some other things that were discussed

   7   that you all want to try to recreate, but we'll do that at

   8   the end of this hearing.         So, let's go forward.

   9                Ms. DiIorio, it's your show.

  10                MS. DiIORIO:      Yes, Your Honor, good afternoon.        And

  11   I apologize, I am terribly under the weather.

  12                THE COURT:     As long as your coughs can't travel 30

  13   feet --

  14                MS. DiIORIO:      And I can tell you --

  15                THE COURT:     -- or 10 feet that way or 10 feet that

  16   way, I think everyone's happy to have you here.

  17                MS. DiIORIO:      To make everyone feel better, I am no

  18   longer contagious; this is just the aftermath of it --

  19                THE COURT:     Okay.

  20                MS. DiIORIO:      -- and trying to get rid of it.

  21                THE COURT:     Maybe, Ms. Garcia, you could ask for

  22   someone to bring her some water.

  23                MS. DiIORIO:      Your Honor, I believe on the

  24   application/motion for the Trustee to deliver the maintenance

  25   records to TPE Flight Log Services, LLC, we have been in



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   1   negotiations regarding the consensual order.              And I'm happy

   2   to report that I have the order to hand up to the Court

   3   today.

   4                THE COURT:    All right.     Great.

   5                MS. DiIORIO:     If I may?

   6                THE COURT:    Yes.    Thank you.

   7                Okay.   If anyone on the phone or in the courtroom

   8   in person has not had a chance to see this and wants me to

   9   read it, I will.

  10                MR. CLARK:    Your Honor, this is Roger Clark.          I

  11   certainly don't need you to read the order.               I have what I

  12   believe is the most recent version of it that was sent

  13   yesterday.

  14                My only comment is in regard to Annex 1 on

  15   paragraph 1(b).      It does not make a provision for obtaining

  16   copies of the maintenance logbooks by other interested

  17   parties.    It seems to be limited just to owners of aircraft.

  18                And I can envision some circumstances that other

  19   interested parties may like to get a copy as well.              So my

  20   only request would be that there be just an addition that

  21   paragraph 1(b) also applies to other interested parties.

  22                THE COURT:    Paragraph 1(b) Romanette (i)?

  23                MR. CLARK:    That is correct, Your Honor.          Yes.

  24                THE COURT:    Okay.    Does anyone have any problem

  25   with allowing anybody, because who's to determine what an



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   1    interested party is -- oh, wait a minute.

   2               MS. DiIORIO:      Your Honor, I --

   3               THE COURT:     Hold on, hold on.       Let me read it.

   4               It talks about the original logbooks.         So you're

   5    not suggesting that an interested party can get an original

   6    logbook, are you, Mr. Clark?

   7               MR. CLARK:     No, Your Honor, I'm not.       I'm just

   8    suggesting that there may be circumstances where copies may

   9    be needed or required.

  10               THE COURT:     Okay.    Well, then, I don't know who was

  11    going to speak, but I guess somebody for Turbo Prop East.              I

  12    could add a --

  13               MR. PLOTKO:     Your Honor, just a -- this is Craig

  14    Plotko on behalf of LW Air.

  15               THE COURT:     Okay.

  16               MR. PLOTKO:     May I be heard?

  17               THE COURT:     Yes.

  18               MR. PLOTKO:     Yes.    You were sort of heading in the

  19    direction, I think, I'm sure most people are thinking of,

  20    which is this order really involves the return of original

  21    records and that the order Your Honor entered on January 13th

  22    really discusses the obtaining of copies and the costs

  23    associated with that and the process.

  24               So, there may be a different order that this really

  25    has to modify -- that that request would have to modify.



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   1               THE COURT:     Okay.    So maybe what I should do is

   2    interlineate something that -- a decretal paragraph near the

   3    end, or at the end, or add a sentence at the end of the

   4    decretal paragraph that's there that says, "This order does

   5    not supersede or recede from the Court's January 13th order

   6    with respect to those who may obtain copies"?

   7               MR. PLOTKO:     That's right.      I just think that

   8    original records should only go to those owners that are on

   9    the FAA registry, as opposed to --

  10               THE COURT:     I agree.

  11               MR. PLOTKO:     -- a copy.

  12               THE COURT:     I agree.     So does anybody mind if I add

  13    a sentence at the end of this that says that, "Nothing in

  14    this order shall supersede or amend the relief that is

  15    accorded in the January 13th order as to copies"?

  16               (No response.)

  17               THE COURT:     Nobody has a problem with that?

  18               MR. CLARK:     Your Honor, this is Roger Clark.        I

  19    certainly do not and I do not have an objection.          That is, I

  20    am not recalling the particulars of the January 13th hearing,

  21    but I understand it did address that interested parties could

  22    get copies.    And with that, then I'm satisfied.

  23               THE COURT:     Okay, good.     Okay, good.    All right.

  24    Then we'll add to that.

  25               Okay.    Next, Ms. DiIorio?



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   1                 MS. DiIORIO:      Your Honor, I think next on the

   2    docket today is further hearing on the claw-out notices.

   3    I've been told from Ms. Sherman that all of the parts that

   4    were subject to the claw-out notices were removed from the

   5    auction.     And we are attempting to work through resolving who

   6    owns what, or what priority of ownership, or liens and the

   7    like on those parts.        We're hoping to get that resolved in a

   8    consensual matter.

   9                 To the extent we're not able to, we'll be filing

  10    adversary proceedings.         We'll be filing adversary proceedings

  11    to determine the extent, validity and priority.

  12                 THE COURT:     Okay.    Well, let's just leave it at

  13    that.   No action.

  14                 And, Ms. Garcia, no action taken today.         We will

  15    react as the Trustee and interested parties file things to

  16    resolve those disputes.

  17                 Okay.    Now, let me go to the housekeeping issue.

  18                 I would like the record of the January 15th hearing

  19    to be not reestablished word-for-word, but just the high

  20    points.     And I'll give you all a chance to add what you

  21    believe is the record of that hearing.             Let me tell you what

  22    I believe, based on my recollection and my notes, the record

  23    should consist of.

  24                 First, that Mr. Andersen, on behalf of his client

  25    CCA, raised orally a limited objection to the two motions to



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   1    approve the compromise that were considered that day, those

   2    being concerning N109SL and N104SL.          The objection -- the

   3    limited objection that he stated was similar to that which he

   4    has stated in writing with respect to a prior compromise that

   5    I approved.    And, also, it was similar to an objection in

   6    writing that was prematurely calendared for hearing on

   7    January 15th.    He was filing a limited objection -- he did

   8    file a limited objection to what we all supposed by then

   9    would've been filed, which was a motion to approve a

  10    settlement and compromise regarding the sale of N138SL.

  11               So his oral, limited objection to N109SL and N104SL

  12    is preserved for the record.        I overruled those.    I overruled

  13    those for the same reasons that I overruled his first

  14    objection to the first compromise that I approved.           So his

  15    issues are preserved for appeal on that January 15th record.

  16               Mr. Clark wanted to make sure that, because we had

  17    some dialogue about conversion, in the sense of title and

  18    ownership at an earlier hearing, that he wanted me to assure

  19    that that didn't mean that I was making rulings that there

  20    existed no tort of conversion with respect to the Debtor and

  21    owners of parts and pieces of parts.

  22               And I recall that what I was saying was that I made

  23    my ruling based on the fact that I believe that the governing

  24    documents lead the fractional owners to a breach of contract

  25    claim against the Debtor because that's how I construed the



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   1    documents and using, to some extent, the ordinary course in

   2    the industry about businesses like this where they're trying

   3    to keep a fleet in the air and the custom and practice to

   4    take parts off of one, put it on another to keep the fleet

   5    flying, while at the same time expecting to replace the part.

   6    That's what I said gives rise to the breach of contract.

   7               To the extent that there are planes flying around

   8    with stuff on them and owners want to go against another

   9    owner for the tort of conversion, if issue and claim

  10    preclusion principles don't apply, they don't apply.           So, I

  11    was not ruling anything about the tort of a conversion

  12    between owners.     I was asked to rule just on the compromises

  13    that I was ruling on and that's what I did.

  14               I also said that although in my notes I meant to

  15    address this issue when I first made the ruling on what is a

  16    plane, is it the Humpty-Dumpty model, or is it when the

  17    musical chairs stop -- when the music stops in the musical

  18    chair game model, I didn't address the cumbersomeness, the

  19    unwieldiness, the impractical suggestion that some were

  20    making that we actually go trace parts into planes that are

  21    nowhere near here; they're in the air; they may be in

  22    garages; they may be junk.        It's expensive.

  23               So if I was wrong about whether this is, at bottom,

  24    a breach of contract dispute between the owners and the

  25    Debtor and it's something else, as Mr. Andersen was trying to



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   1    urge, more like title issues and ownership issues, then I

   2    think that under Section 105 any law of equity that might

   3    apply, it just cannot happen.        It's not just me.    No Court

   4    would be able to do that in a practical, inexpensive, speedy

   5    and just way as the Rules of Civil Procedure would have it.

   6                 Those were my high points that I took away from the

   7    hearing on the 15th.      Does anyone want to add anything that

   8    they think occurred that's really important to them?

   9                 MR. CLARK:   Your Honor, this is --

  10                 THE COURT:   Go ahead.

  11                 MR. CLARK:   Your Honor, this is Roger Clark.       In

  12    regard to the Court's comments just a moment ago, I wanted

  13    a clarification.     We filed points last month in December

  14    pointing out why the issue of conversion is something that

  15    will have to be resolved insofar as the Debtor itself is

  16    concerned:    the manner in which the Debtor handled these

  17    parts, its failure to properly document the removal, the time

  18    limited nature of the parts, all in violation of law, which

  19    implicates conversion issues in regard to the Debtor itself.

  20                 And based upon the Court's comments just a moment

  21    ago, I'm not sure if the Court included the issue of

  22    conversion against the Debtor not being ruled upon.           And so

  23    I'd ask for clarification from the Court if that is indeed

  24    the Court's intent, that the Court is not making a legal or

  25    factual determination whether the Debtor committed acts of



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   1    conversion?

   2                THE COURT:    Okay.    An act of conversion is what?

   3    It legally comes into the possession of the Debtor and the

   4    Debtor is allowed to use it.        The Debtor is supposed to

   5    replace it not necessarily with the same part.

   6                So I don't know how you get to a tort of conversion

   7    but -- with those facts.

   8                MR. CLARK:    Right.    Well, the part -- and it's

   9    important to note, insofar as the issue of conversion is an

  10    issue before the Court, we would submit that the Court cannot

  11    make a ruling on whether a conversion occurred or did not

  12    because that would require a factual determination.

  13                And even though the program documents give the

  14    Debtor the right to use the aircraft and parts, the right to

  15    use those parts is constrained by other parts of the program

  16    documents to maintain the air worthiness of the aircraft and

  17    also by federal law.      The three declarations and affidavits

  18    that were submitted by Mr. Verona all agree that the parts

  19    typically are removed when an aircraft is down for routine

  20    maintenance and then are replenished in the normal course of

  21    business.     Issues of whether that indeed was occurring here

  22    is very much a factual issue.

  23                And, in fact, the Federal Aviation Administration

  24    has made its own factual determination that what the Debtor

  25    was doing was against federal law because it was not tracking



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   1    the life-limited parts which made them unairworthy as a

   2    matter of law so that the Debtor was using illegal aircraft

   3    and illegal parts and, in fact, issued its grounding order.

   4               So the issue of whether the Debtor committed

   5    conversion, I respectfully submit, Your Honor, that its not a

   6    ruling that the Court can make on this record.           That requires

   7    an evidentiary hearing which we have not had.

   8                  And we would request that the Court clarify its

   9    ruling by stating that the Court has not ruled on whether the

  10    Debtor has committed one or more acts of conversion.

  11               THE COURT:     Well, I construed the contract.       And to

  12    the extent that my construction would negate a claim for

  13    conversion, because of the manner I construed the contract,

  14    then maybe implicit in the ruling there is such.          But if

  15    there's a contractual duty to replace, and not necessarily

  16    with the same part, and if there's a contractual duty to keep

  17    logs and they don't do that, I don't see how that amounts to

  18    conversion.    It, to me, is a breach of contract claim.

  19               MR. CLARK:     I mean, it --

  20               THE COURT:     Just because they don't write in a log,

  21    you know, "This has had 10 hours," that doesn't mean it's a

  22    conversion.

  23               MR. CLARK:     We had -- in the brief that we

  24    submitted in December, Your Honor, we gave the Court a number

  25    of cases that talked about when an entity or a person exceeds



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   1    its authority under contractual documents and actually

   2    commits acts of conversion.        So you can have a breach of

   3    contract and a conversion at the same time.

   4                 And what has happened here is that Avantair was

   5    apparently operating its aircraft in violation of federal law

   6    and was not removing these parts in the normal course of

   7    business but was, because of financial issues, was actually

   8    robbing parts from one aircraft and causing it to be

   9    unusable, and then putting them in other aircraft, basically

  10    committing -- or turning certain aircraft into donor aircraft

  11    which was in violation of other requirements that the Debtor

  12    had to all the fractional owners to maintain the air

  13    worthiness of all the aircraft.

  14                 And the three affidavits that were submitted by

  15    Mr. Verona all make the point that these cannibalization or

  16    robbing of the parts, if you will, normally take place during

  17    a normal maintenance process and that the aircraft -- the

  18    parts are to be returned and replaced.           And it's a factual

  19    issue as to whether that is what this Debtor was doing or was

  20    not doing.    And that is something that is not before the

  21    Court that it's able to rule upon at this point in time.

  22                 THE COURT:   All right.     I'm going to have to cut

  23    you off for a minute.      I guess our clock in our courtroom is

  24    slow; huh?    We're going to have to remember this.

  25                 COURTROOM CLERK:     I don't think so.



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   1               THE COURT:     Well, my watch says 3:58 and I'm

   2    supposed to be somewhere at 4:00 for just a few minutes.               And

   3    they're saying they're ready now?

   4               COURTROOM CLERK:       Yes.

   5               THE COURT:     At five of 4:00.       You all can sit

   6    here.   The people in Tampa, if you would like to go next

   7    door, Judge Williamson is getting sworn in.              On the phone,

   8    if you don't mind, please, let me come back in about five

   9    minutes.   Everyone can stay put on the phone and look at your

  10    computers, or Tweet, or whatever you want to do.             I'll be

  11    right back.

  12               MR. CLARK:     Thank you, Judge.

  13               (Off the record at 3:58 p.m.)

  14               (Back on the record at 4:08 p.m.)

  15               THE COURT:     All right.     We're back on the record in

  16    the Avantair case.      Thank you for the ability to attend that

  17    function in honor of my colleague who was just sworn into a

  18    second 14-year term.

  19               Mr. Clark, I don't know whether the elements of

  20    conversion were necessarily wrapped up in or rejected by my

  21    comments in the ruling that I made with respect to the first

  22    compromise.    I don't know whether these -- it seemed to me

  23    that the industry standard was, with the exception of maybe

  24    the props and the engine, that the rest of these things were

  25    all fungible.    It certainly wasn't the intent of the contract



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   1    that the parts not be replaced but a replacement part may not

   2    be the same part.     So, I made my ruling.

   3               MR. CLARK:     Right.

   4               THE COURT:     To the extent that, you know, a

   5    necessary consequence of the finding is that conversion could

   6    not lie, then so be it.       If it's -- if the question is open,

   7    then so be it.

   8               MR. CLARK:     Your Honor, if I might?        The point I

   9    was making just before the break was slightly different than

  10    the point you made.      I think that we need to look no further

  11    than it's a factual issue that Avantair had an intentional

  12    and systematic practice removing parts from program aircraft

  13    without proper documentation which was in violation of

  14    federal law -- and the Federal Aviation Administration has

  15    actually so found -- and that that activity exceeded

  16    Avantair's specific authorization in the handling and use of

  17    their program aircraft and its parts because it did not

  18    comply with the program documents.

  19               And as we pointed out in some papers, under the

  20    Restatement of Torts (Second) 228, which said:            The one who's

  21    authorized to make use of the chattel and uses it in a manner

  22    exceeding the authorization is subject to liability for

  23    conversion.

  24               And that, factually, is very much an issue as to

  25    whether Avantair did use these parts in a manner exceeding



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   1    its authorization because it failed to properly document

   2    these parts which is required by federal law.

   3                 The Florida Supreme Court in the Star Fruit case

   4    which is, you know, cited in our brief on December 9th, is in

   5    accord saying that, you know, the wrongful handling of

   6    property contrary to the terms of the trust or the agreement

   7    will allow an action for conversion.          And factually, at the

   8    very least, Your Honor, that's what we're facing right now.

   9                 And Mr. Appleby brought down a proposed order which

  10    has a paragraph basically stating that the Court is making no

  11    ruling one way or the other on whether conversion is being

  12    ruled upon, either factually or legally.           And we kindly

  13    request the Court to at least make that order, let it be a

  14    part of the record, and to reconsider its position as it has

  15    an opportunity to go back and revisit some of the materials

  16    that we included.

  17                 THE COURT:   Well, one of the things I'm not going

  18    to do is give anybody the right to go now, chase N169SL and

  19    say, "That's my cup holder because my cup holder is in your

  20    plane and even though Avantair was supposed to replace the

  21    cup holder in mine with something else, it didn't.           And so, I

  22    want my original cup holder back because that violates the

  23    contract."    I don't want to open up that can or worms.

  24                 MR. CLARK:   And I certainly am not asking the Court

  25    to do that.    Some of the fractional owners of 169, you know,



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   1    have made a claim for insurance coverage.             And this issue of

   2    conversion may be relevant to that coverage claim by the

   3    fractional owners of 169.         And that's why it's important, I

   4    think, for the Court to abstain from making a ruling at this

   5    point in time based upon the absence of any factual support

   6    to make this determination that conversion did or did not

   7    take place.

   8                 THE COURT:     Well, in the sense that Mr. Andersen

   9    was arguing it with respect to these parts, I think I did

  10    make a ruling because I rejected his contention.                I think

  11    that on January the 15th we made a distinction regarding the

  12    tort of conversion that has a different spin from title

  13    issues.

  14                 But my findings are my findings.              And if I found

  15    that a part that was supposed to be replaced wasn't replaced

  16    and gives rise to a breach of contract, then with respect to

  17    that part I don't see conversion because the obligation was

  18    to replace it, not take that same part and put it back.

  19                 So, whatever flows from the ruling flows from the

  20    ruling.     There is a complete transcript of the ruling.             And

  21    so I don't know where it is that I said anything about

  22    conversion in the original ruling that caused you to want to

  23    stand up on January 15th and talk about that.                Maybe you were

  24    reacting to the fact that I was reacting to Mr. Andersen's

  25    comments.     But --



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   1                MR. CLARK:     Your Honor, the proposed order that was

   2    submitted on the 15th had a reference to the brief that my

   3    office submitted on the issue of conversion and then did not

   4    address the issue in the rest of the order.               And my concern

   5    at that point was the implication that the Court may have

   6    very well been making a ruling on conversion and that's why

   7    I'm attempting to seek a clarification that the Court was not

   8    making a ruling on this record.

   9                THE COURT:     I don't know what to tell you.         I

  10    construed the contract; I said it was a breach of contract

  11    claim.    It's the measure of damages; it's payable by money.

  12    I don't know what more I can say.          I adopted the "musical

  13    chairs when the music stops" alternative.

  14                MR. CLARK:     Right.    Right.

  15                THE COURT:     And if there is something in the

  16    contract that says the very part that you took off needs to

  17    be put back on, then I missed that part.            I think that the --

  18                MR. CLARK:     And I'm not --

  19                THE COURT:     If things are compensable by money,

  20    it's a breach of contract claim.          It's not like they took the

  21    cup holder and then carved it into, you know, a plate which

  22    would be -- and then we're obligated to give you that thing

  23    back and you get a plate instead of a cup holder.              I think I

  24    found that the documents did not require return of a specific

  25    item so long as one was replaced.



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   1                 MR. CLARK:    Yes, Your Honor.       And you may have a

   2    breach of contract and then the tort of conversion, as the

   3    Court has already pointed out, are not necessarily the same

   4    thing.    And this is why we're requesting the Court to

   5    consider the conduct, practice and pattern of Avantair here

   6    particularly, as it's focused on its failure to document the

   7    removal of the parts, their number of cycles, number of hours

   8    on the parts, all of which renders them unairworthy and makes

   9    them illegal for use in the eyes of the federal law which is

  10    itself, if that is shown to be the case, an act of conversion

  11    by Avantair itself.

  12                 THE COURT:    Are you talking about parts that are

  13    on pallets right now in the claw-out mode, that they are

  14    unusable because of -- and that you've got an additional --

  15    besides a breach of contract claim, you've got an additional

  16    conversion claim for those parts?

  17                 MR. CLARK:    Yes, that is correct, Your Honor.       In

  18    fact, I believe the FAA issued an additional order just week

  19    before last requiring anyone to go back on these parts; and

  20    if they can, to determine if the documentation for the number

  21    of cycles or the number of flight hours on them can be

  22    confirmed.     And if they cannot be confirmed, then they cannot

  23    go back into these aircraft because they're unairworthy by

  24    operation of law and it's a risk to the safety of flight of

  25    passengers and crew members on these aircraft.



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   1               THE COURT:     Well, if you're talking about parts

   2    that are on pallets, you're not talking about the planes that

   3    are being sold that are flyable.

   4               MR. CLARK:     Well, the point though is that all

   5    these aircraft were grounded by the FAA, or at least I think

   6    the substantial majority of them were last summer, because

   7    the FAA had found a pattern of practice of Avantair removing

   8    parts and swapping parts, cannibalizing parts without

   9    documenting where they were and their life cycle.

  10               THE COURT:     They were sloppy, they were messed up.

  11    That's why they failed their -- you know, they were terrible

  12    business managers, I get all that.

  13               But you are objecting to orders that permit sales

  14    of complete planes or, in the case of Mr. Andersen's client,

  15    an incomplete plane.      And I don't know -- I guess I don't

  16    know what you're complaining about.

  17               MR. CLARK:     I'm not objecting to the remedy which

  18    the Court is fashioning.       I'll let Mr. Andersen argue that.

  19               What I'm just simply asking the Court to do is

  20    refrain from making a ruling, either factually or legally,

  21    that conversion did or did not occur.          Because that is an

  22    issue that could come into play in a coverage claim that is

  23    currently being made by some of the fractional owners of 169.

  24    And that is an issue, Your Honor, I would request that the

  25    Court reserve for another day so that we can develop a



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   1    factual record so we know what Avantair actually was doing.

   2               THE COURT:     Well, the only conversion issue that

   3    was ever raised -- I mean, if you're interjecting something

   4    as a -- you know, sort of a new branch on the decision tree,

   5    I only appreciated that Mr. Anderson was arguing that as in

   6    the case of a stolen car.       Once the car is transferred by the

   7    thief, the end-user does not get title because of that type

   8    of a conversion.     That's what I thought Mr. Andersen was

   9    arguing.   And I don't know when conversion came up to where

  10    you would need to raise it, so -- other than that.

  11               MR. CLARK:     Well, it was addressed in the brief

  12    that we filed on the 9th.       And then on the hearing I believe

  13    on the -- I believe it was December the 12th, the Court noted

  14    it had read the brief on conversion.          But as I understand the

  15    Court's comments at that time they were directed solely to

  16    the breach of contract issue, not the conversion issue.            And

  17    I hope my memory serves me right, but I don't think the Court

  18    made any ruling on conversion on the hearing on December the

  19    12th.   And that's why it wasn't, I believe, necessary to deal

  20    with it.

  21               But then when the proposed order came up last week

  22    on the 15th, where it referred to the brief on conversion, at

  23    that point it was not verifiable --

  24               THE COURT:     May I see the proposed order?       I don't

  25    even know what you're talking about.          Have I entered an order



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   1    on the hearing for the 15th -- from the 15th?

   2               MR. CLARK:     I don't believe you have, Your Honor.

   3               MR. VERONA:     No.    What happened was we had a

   4    hearing on December 12th.

   5               THE COURT:     I need to have CHAP.           This is-- my

   6    computer is totally unusable.        I can't even --

   7               MR. VERONA:     Would you like the transcript?

   8               THE COURT:     -- turn it off and turn it back on.

   9               MR. VERONA:     I have the transcript from the

  10    December 12th hearing and I have a proposed order that we

  11    have proposed, Your Honor.

  12               With all due respect, an issue on -- and it's

  13    reflected in the transcript on November 22nd was not -- and

  14    December 12th -- was not breach of contract versus

  15    conversion.    The issue was the practice of removing parts

  16    from one plane and putting them on another and whether that

  17    was authorized under the program documents for purposes of

  18    determining how proceeds from the sale of a particular plane

  19    were to be distributed.

  20               Your Honor in your remarks -- and if I may pass up

  21    a copy of the transcript?

  22               THE COURT:     Sure.    What page?

  23               MR. VERONA:     Turning to page 33 through 35.

  24               THE COURT:     Hold on a minute.       I've got too many

  25    pieces of paper up here.       Okay.    Are we on yet?



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   1                COURTROOM CLERK:       Uh-uh (negative).

   2                THE COURT:     Okay.    You've handed me something that

   3    has an order on it --

   4                MR. VERONA:     Yes.

   5                THE COURT:     -- on top of it.

   6                MR. VERONA:     Right.     That's our proposed order from

   7    the --

   8                THE COURT:     November 22nd --

   9                MR. VERONA:     -- November 22nd.

  10                THE COURT:     -- which I haven't entered yet.

  11                MR. VERONA:       Right.    And you announced your ruling

  12    on December 12th and this transcript is your announced ruling

  13    on December 22nd.      And I'm directing Your Honor to page 33

  14    which is when you made the announcement that is pertinent to

  15    what Mr. Clark is talking about.

  16                The only real difference between Mr. Clark's

  17    proposed order and our proposed order is Mr. Clark's proposed

  18    order makes an express determination or express finding that

  19    you are not making a determination as to conversion.

  20                Our objection to that is that you weren't making

  21    any determination as to whether it's a breach of contract or

  22    -- well, you weren't making -- you weren't determining what

  23    type of cause of action this conduct raises.              You were

  24    determining how proceeds were to be distributed pursuant to a

  25    sale approved by the Court in accordance with the program



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   1    documents.

   2                 THE COURT:    But that depended on whether the

   3    proceeds belonged to the owners because the parts belonged to

   4    the plane based on my ruling, based on the construction of

   5    the contract.

   6                 MR. VERONA:    Right.   So, you said at page 33,

   7    "Everything, Mr. Andersen, that you have said and that Global

   8    says points me to a breach of contract claim, plain and

   9    simple."   So you referenced the fact that Global had raised

  10    the issue of conversion and you characterized what you saw

  11    the undisputed facts being as the breach of contract.

  12                 You were very careful in the preceding pages of the

  13    transcript to ask Mr. Andersen whether he had any affidavits

  14    from other industry participants that would contradict the

  15    affidavits that we had tendered and he didn't.

  16                 So, whatever consequences flow out of those

  17    undisputed facts, flow.       Not to state the obvious but,

  18    obviously, Mr. Clark wants something to grab onto for

  19    insurance claim purposes because conversion is one of the

  20    exceptions in the policy.

  21                 THE COURT:    And how is conversion defined?

  22                 MR. VERONA:    Oh, I don't have the policy with me,

  23    Your Honor.     But the point is that's -- they need -- they're

  24    looking for somebody to make a determination that there was a

  25    conversion and that wasn't done here.



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   1               And Your Honor didn't deal -- what we prepared is

   2    consistent with what you ruled.         You didn't say one way or

   3    the other -- you just said that this is a breach of contract.

   4               We didn't even say in our proposed order that it's

   5    a breach of contract.      We just approved the sale; we just

   6    provided for the approval of the sale in accordance with your

   7    reasoning as stated on the record and recorded in court.

   8               As you said, "My ruling is my ruling," and it was

   9    based on undisputed facts.        And whatever those facts --

  10    whatever impact those facts have on a later potential

  11    insurance claim they have.

  12               MR. CLARK:     Your Honor, if I may.          There's a

  13    continual reference to undisputed facts which raises the very

  14    point that we have not had an evidentiary hearing.             There are

  15    no such things as undisputed facts.          The fact is:     Exactly

  16    what was Avantair doing?       And there is nothing in the record

  17    to support that one way or the other.

  18               The three affidavits of Mr. Ronald Brower, Jim

  19    Lewis and Mr. Kronk all state clearly that even when parts

  20    are removed, careful attention has to be given to the

  21    documentation of those parts and that the replacement of

  22    those parts occurs during normal routine procedures.             Those

  23    all raise factual questions as to whether Avantair was doing

  24    that here and we simply do not know that.           So there are

  25    no, quote --



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   1                 THE COURT:     Avantair was neglectful; everybody

   2    knows it.

   3                 MR. VERONA:     Right.    But you don't need to make

   4    a --

   5                 MR. CLARK:     But it may be worse than that, Your

   6    Honor.     We don't know if it was only neglectful; it could've

   7    been calculated and intentional.           We simply don't know.

   8    Clearly, they were at least, in the best case scenario,

   9    neglectful.      They may have been calculated.

  10                 MR. VERONA:     But, Your Honor, you don't need to

  11    make a determination whether there was conversion or not.

  12    You don't need to make a determination.

  13                 All you did was you looked at the contract and you

  14    determined that we were -- that Avantair was authorized to

  15    remove parts and put them on another plane and they breached

  16    that contract.

  17                 THE COURT:     They didn't do it right.

  18                 MR. VERONA:     Now, if as a result of ruling you have

  19    somehow impacted one way or the other a claim for conversion,

  20    well, then so be it.        But there is no reason for you to say

  21    expressly, "I'm not making a determination of conversion,"

  22    because the undisputed -- there are undisputed facts.

  23                 There are undisputed facts in the record about what

  24    Avantair did, what they failed to do, what industry standards

  25    are.     And those facts have potential consequences.



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   1               But the issue of conversion does not need to be

   2    expressly included or excluded from the scope of your order

   3    because that wasn't before you.

   4               THE COURT:     Well, somebody put it before me.

   5    Mr. Andersen put it before me in the context of showing chain

   6    of title could not be conveyed, but I rejected that.

   7               MR. VERONA:     I understand.      And I guess my point

   8    is that a finding that you expressly did not determine

   9    conversion is inconsistent with what you ruled.             You were

  10    silent on the issue.      You made certain determinations based

  11    on what the contract -- the program documents say and based

  12    on the undisputed facts in front of you.           And, again,

  13    whatever consequences those have, they have.

  14               Undoubtedly -- I say undoubtedly.             I believe Mr.

  15    Andersen is going to take an appeal from that order.             You

  16    know, there's going to be litigation down the line over

  17    insurance claims.     And this Court shouldn't, with all due

  18    respect, do anything to tilt the balance one way or the other

  19    with respect to those issues.        You made your ruling based on

  20    an analysis of the contract documents and the undisputed

  21    facts in front of you and that's it.

  22               THE COURT:     Okay.    I --

  23               MR. ANDERSEN:      Your Honor, if I may, this is --

  24               THE COURT:     I -- what?

  25               MR. ANDERSEN:      This is Don Andersen and I have



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   1    avoided saying anything and will continue to avoid saying

   2    anything with one minor exception.          And that is that I just

   3    don't want my silence to be interpreted as acquiescence or

   4    agreement in the various characterizations of the various

   5    arguments that were made at the hearings in November and

   6    December.   We do have transcripts of those hearings and I

   7    think those transcripts speak for themselves as to what the

   8    Court's rulings were and the Court's position was at the

   9    time.

  10                And I think that the Court has again today

  11    reaffirmed its position and there's no need today, in our

  12    view, to rehash it.      I don't think the Court is going to be

  13    persuaded otherwise; otherwise, I would be arguing

  14    vigorously.

  15                But I just want to be clear on the record that

  16    while all of this is informative today, I think that the

  17    essence of the Court's rulings was in November and December.

  18                THE COURT:    Right.    Let me make clear something.

  19    No one asked me for an evidentiary hearing on those motions

  20    to compromise back then.       I gave people the opportunity to

  21    make proffers of testimony that would be different from that

  22    which was proffered by the people that were proponents of the

  23    sale.

  24                I did not believe that there was any undisputed

  25    fact -- excuse me -- any disputed fact that was relevant to



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   1    the decision on whether it's the Humpty-Dumpty version or the

   2    musical-chairs version.

   3               I had the contract at least that applied to those

   4    two claims.    I had the affidavits.        And so I rejected the

   5    ownership theory; I embraced the:         Avantair didn't do what it

   6    agreed to do but you all gave them permission to at least

   7    move the parts around; and if they didn't move the parts

   8    around correctly, that gives rise to a claim because they

   9    didn't follow the contract.

  10               To the extent that a conversion claim can co-exist

  11    with a breach of contract claim, I did not rule on that; that

  12    is true.   A breach of contract claim or some obligation to

  13    pay money without more doesn't give rise to a conversion

  14    claim; but a breach of contract claim or obligation to pay

  15    money with more, which I don't know because we don't have

  16    those facts, that might give rise to a conversion.

  17               So it's the breach-of-contract-plus area I have not

  18    looked at, touched, decided, or anything.

  19               Is that what you mean, Mr. Clark?

  20               MR. CLARK:     Your Honor, that is, indeed, helpful.

  21    And, you know, I think that was -- Mr. Verona was speaking

  22    before Mr. Andersen and I apologize.          I don't recognize

  23    his voice on the phone.       But, yes, and -- but, you know,

  24    Mr. Verona was stating that, you know, the issue of

  25    conversion was not before the Court but yet, on the other



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   1    hand, he's saying, well, the issue of conversion may very

   2    well be resolved and that's exactly the point why I think the

   3    Court here needs to be clear that it should not be resolved

   4    when it wasn't before the Court to begin with --

   5                 THE COURT:    Well, to the extent that --

   6                 MR. CLARK:    -- and that's why we asked for this

   7    provision.

   8                 THE COURT:    Well, to the extent that my remarks

   9    suggest that there was a breach of contract claim which,

  10    based on permission to use the parts conditioned on a

  11    replacement obligation, that negated the ownership argument

  12    that Mr. Andersen was making.

  13                 No, I did not analyze whether it was a breach of

  14    contract claim-plus -- where the plus would amount to a

  15    separate tort, a conversion claim.          So if you've got breach

  16    of contract-plus under the case law, then you go prove that

  17    and battle it out with the insurance company.

  18                 Is there a definition of conversion in the policy

  19    that anybody can share with me?         Certainly those things are

  20    construed narrowly against the insurance companies.           So to

  21    the extent that there's a more expansive way of getting to

  22    conversion, then there is.

  23                 MR. VERONA:    So the only issue then is:     Are we

  24    going to have an order -- we need to have an order entered

  25    and the only difference between these two orders, Your Honor,



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   1    is one expressly says, "I'm not ruling on conversion."              The

   2    other one just relies on what you said in the transcript.

   3    And --

   4                THE COURT:     Where is the verbiage?

   5                MR. VERONA:     And that's -- 9 is the paragraph that

   6    is added and I think that goes beyond what you said.

   7                MR. CLARK:     Well, I respectfully disagree.         I think

   8    that's exactly what the Court just said.

   9                THE COURT:     Well, conversion means that Avantair

  10    converted to its own property of another.            That was not my

  11    finding.

  12                My finding was that they were permitted to move

  13    around these parts.       They were given carte blanche within

  14    certain parameters, meaning they had to replace it.              If they

  15    took it off and put it on another plane, then the plane they

  16    took it off from needed to have a part replaced at some point

  17    in the future.

  18                If that wasn't done, that gives rise to a claim for

  19    money, not a claim of ownership of the part that was moved.

  20    That was the sum essence boiled down to as briefly as I can

  21    about why I picked the musical-chairs version.

  22                So in the context of ownership, that's what I was

  23    talking about when I talk about conversion.               The fractional

  24    owners retained no ownership interest in the part that was

  25    moved.



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   1                MR. VERONA:     And what you're saying today is clear

   2    and what you said, in my view on December 22nd, was clear.

   3    Paragraph 9 of this order, in my view, attempts to expand

   4    upon what you've said by making a specific determination that

   5    you're not getting into conversion.           You may or may not be,

   6    depending on the consequences of what you did rule.

   7                THE COURT:     I don't even understand 9 because the

   8    second sentence seems to maybe contradict the first one.

   9    While the Court concludes --

  10                MR. CLARK:     That's the breach of contract

  11    reference, Your Honor, which refers to what the Court stated;

  12    that the Court has found that the Debtor breached the program

  13    documents but the remedy for that breach would be to file the

  14    proofs of claim.

  15                MR. VERONA:     Well, it --

  16                THE COURT:     Well, yes.     I don't know how I can make

  17    it any more clear.       I reject the conversion line of thinking

  18    when it comes to ownership rights and title.              That's what I

  19    was saying in my earlier ruling.          The owner said, "Feel free

  20    to take the cup holder off my plane and put it in another

  21    plane.    Just remember to buy me a replacement part."           And

  22    they didn't.

  23                MR. VERONA:     Right.    And so, if that is conversion,

  24    it's conversion.      If it's not, it's not.        But you don't need

  25    to state in this order, "I'm not making any determinations."



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   1    You made some determinations and they may or may not have

   2    impact on a later insurance claim relating to conversion.

   3                 But this paragraph 9 is almost inviting fractional

   4    owners -- it's telling them the remedy is to file their proof

   5    of claims.    It's almost inviting fractional owners to file

   6    proofs of claim for conversion or file proofs of claim

   7    instead of filing insurance claims.

   8                 And I respect what Mr. Clark is doing; he's got a

   9    client to represent.      But that's not what we -- you know,

  10    what was determined here.

  11                 They can file proofs of claim and they can

  12    determine what their causes of action are.               They can file

  13    insurance claims if they think they have --

  14                 THE COURT:   Okay.    Just get this page typed up;

  15    okay?   I'm not meaning to affect or interpret any policy of

  16    insurance and the use of the word "conversion" in that sense.

  17    There are cases out there that say breach of contract-plus

  18    can give rise to a conversion claim.          And that's as far as

  19    I'm going to go.

  20                 The conversion I was speaking of is to cut off the

  21    argument that suggested that the parts that were moved were

  22    still owned by the original group where the part was original

  23    plane -- that the part that was moved belonged to the

  24    original plane and therefore the fractional interest holders

  25    of the original plane still held title.           That's as far as I



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   1    was going.

   2                 MR. VERONA:    And what we submitted is consistent

   3    with what you ruled on December 22nd --

   4                 THE COURT:    Okay.

   5                 MR. VERONA:    -- and what --

   6                 THE COURT:    I'm going to not sign this one,

   7    Mr. Appleby.    I think that the people are trying to mix

   8    concepts and I don't want to do that.          The purpose that I

   9    made the ruling for is clear on the written record -- I mean

  10    the transcript.     It's very clear.      And, today, I hope I

  11    clarified that.

  12                 I wasn't meaning to eliminate the breach of

  13    contract-plus type of conversion claim except to the extent

  14    it deals with who owns the part.         The last plane that it's

  15    on, that's where it belongs.        That was the upshot of my

  16    ruling --

  17                 MR. VERONA:    We understood that.

  18                 THE COURT:    -- not the first plane where it came

  19    from.

  20                 MR. VERONA:    Okay.   So, are you going to sign our

  21    form of order?

  22                 THE COURT:    Yes.

  23                 MR. VERONA:    Thank you.

  24                 THE COURT:    And I'm going to sign the one that

  25    Ms. DiIorio gave me about the logbooks but add that sentence



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   1    that allows everyone -- that parties of interest still retain

   2    the right to request and pay for copies consistent with the

   3    Court's other order.

   4                And I think that's all we have to deal with today;

   5    right?    So now everyone can enjoy their weekend.

   6                MR. VERONA:     Thank you.

   7                MALE VOICE:     Happy Gasparilla, Judge.

   8                MR. CLARK:     Thank you, Your Honor.

   9                THE COURT:     Thank you.

  10                MR. ANDERSEN:      Thank you.

  11         (The hearing was concluded at 4:39 p.m.)

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                                C E R T I F I C A T E

                   I certify that the foregoing is a correct

        transcript prepared to the best of my ability from the

        digitally recorded audio proceedings and logs of the

        above-entitled matter.




                                            January 28, 2014
        Transcriber                         Date




        FEDERALLY CERTIFIED TRANSCRIPT
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